    Case 1:12-cv-01236-WMS-MJR Document 201 Filed 10/25/18 Page 1 of 10



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

PAMELA S. SMALL,
                                                           AFFIRMATION OF
                             Plaintiff,                    JENNIFER SHOEMAKER
         v.

THE STATE OF NEW YORK, et al.,                             Civ. No.: 1:12-cv-01236(WMS)

                       Defendants.
_____________________________________

         JENNIFER SHOEMAKER, an attorney at law, duly licensed to practice in the State

of New York, hereby makes the following statements under the penalties of perjury:

         1.    I am a Partner with the firm of Underberg & Kessler LLP, attorneys for

Plaintiff in the above-captioned matter, and as such, I am fully familiar with the facts and

circumstances surrounding this matter.

         2.    I make this Affirmation in support of Plaintiff’s Motion for Attorneys’ Fees,

Pre and Post Judgment Interest and Costs.

         3.    The Court should grant Plaintiff prejudgment interest on her back pay

award.

         4.    The resolution of this matter has been often delayed through no fault of

Plaintiff, and Defendants should not be able to financially benefit from those delays.

         5.    Plaintiff should also be awarded prejudgment interest on her compensatory

damages award under Title VII.

         6.    Such an award is within the Court’s discretion to make the plaintiff whole.
     Case 1:12-cv-01236-WMS-MJR Document 201 Filed 10/25/18 Page 2 of 10



        7.    Given the jury’s award of back wages under the New York State Human

Rights Law, Plaintiff urges the Court to use the applicable New York State interest rate

when determining the amount of prejudgment interest to which Plaintiff is entitled.

        8.    In addition, the prejudgment interest should be compounded annually.

        9.    A spokesperson for DOCCS has indicated to the media that Defendants

intend to appeal the jury’s verdict.

        10.   The appeals of the jury’s verdict will be unsuccessful; the evidence

presented at trial was overwhelmingly in Plaintiff’s favor, as demonstrated by her victory

on each and every claim in her lawsuit.

        11.   The planned meritless appeal will only serve to further delay justice for

Plaintiff.

        12.   Such tactics should not be rewarded, and Plaintiff should be compensated

with post-judgment interest for the delay she will experience before she sees any of the

compensation justly awarded by the jury.

        13.   Indeed, the Second Circuit has held that post-judgment interest is

mandatory.

        14.   Further, post-judgment interest should be applied to Plaintiff’s entire final

judgment, including awards of attorneys’ fees, costs and the amount of prejudgment

interest.

        15.   Plaintiff is entitled to an award of attorneys’ fees and costs under both Title

VII and Section 1983 as the prevailing party.

        16.   Again, the jury found in Plaintiff’s favor on every one of her claims presented

at trial.
     Case 1:12-cv-01236-WMS-MJR Document 201 Filed 10/25/18 Page 3 of 10



        17.      There is no question that Plaintiff overwhelmingly prevailed at trial.

        18.      Plaintiff wasted no time in trying to enforce her federal and state rights after

Defendants’ illegal conduct.

        19.      She commenced her required administrative New York State Division of

Human Rights Complaint in 2011 and filed her federal lawsuit in 2012.

        20.      I have represented Plaintiff from the very beginning, beginning during her

NYSDHR proceedings.

        21.      The factual background of Plaintiff’s claims are complicated; there is a

lengthy timeline at issue with dozens of witnesses.

        22.      Paper discovery in this case involved thousands and thousands of pages.

        23.      Plaintiff deposed sixteen witnesses; while balancing the interests of

efficiency with the need for thorough discovery, the list of sixteen individuals was culled

down from a list of over twenty potential deponents and because Defendants refused to

consent.

        24.      This case has suffered from numerous delays that are not due to anything

Plaintiff did.

        25.      From the beginning of the case, there were delays in obtaining discovery

from Defendants.

        26.      Defendants’ initial disclosures were extremely tardy resulting in the

necessary postponement of mediation.

        27.      In October 2014, and two years after the lawsuit was filed, mediation was

finally scheduled, but defense counsel at the time, David Sleight, Esq. of the Attorney
     Case 1:12-cv-01236-WMS-MJR Document 201 Filed 10/25/18 Page 4 of 10



General’s office, came with no authority and stated only that Defendants were not

prepared to mediate.

       28.     Shortly thereafter, and two years after litigation began, Defendants

determined that there was an unwaivable conflict of interest resulting from Mr. Sleight

representing all Defendants, requiring further delays for new counsel for Defendants to

get up to speed.

       29.     In fact, the change in counsel led to an additional five months of delay, and

the parties were unable to make any progress in discovery until March 2015.

       30.     Plaintiff repeatedly attempted to schedule depositions, but was unable to

get Defendants to agree to dates until April 2015.

       31.     In March 2015, Defendants finally sent extremely tardy responses to

Plaintiff’s discovery requests.

       32.     The parties had to engage in motion practice on several occasions,

including for leave to depose more than ten witnesses due to the complexity of the factual

background of this case.

       33.     Defendants also filed for summary judgment on behalf of all of the individual

defendants, necessitating a response to those motions.

       34.     Plaintiff’s counsel has been trial-ready on three separate occasions.

       35.     On each of the first two occasions, the trial was postponed on the eve of

trial through no fault of Plaintiff.

       36.     Preparing for trial necessarily consisted of significant preparation, including

but not limited to: reviewing all of the thousands of pages of documents; reviewing all of

the numerous deposition transcripts; reviewing relevant case law; preparation of jury
     Case 1:12-cv-01236-WMS-MJR Document 201 Filed 10/25/18 Page 5 of 10



instructions and voir dire questions; preparing in excess of 290 exhibits; preparing the

direct testimony of over 10 witnesses as well as preparing for the cross-examination of

defense witnesses; and drafting and responding to motions related to the trial.

        37.    On each postponement, Plaintiff’s counsel had to essentially begin trial

preparation all over again to ensure familiarity with the myriad of factual details in this

case.

        38.    Plaintiff’s mental health condition and disability also made litigating this case

more time-consuming and complicated than it may have been.

        39.    Plaintiff’s condition necessitated a lot of lengthy client contact and hand-

holding through the seven-year process.

        40.    Throughout trial and throughout this entire litigation process, it has been

clear that the evidence of Defendants’ unlawful conduct is overwhelming.

        41.    Despite the overwhelming evidence, Defendants chose to fight Plaintiff

every step of the way instead of making Plaintiff whole for what she suffered due to their

conduct.

        42.    Given the foregoing, the fee amount requested is reasonable in light of the

realities of litigating this case.

        43.    Litigating this case has certainly taken up significant attorney time and has

limited counsel from accepting representation or working on other matters in which a

hourly rate would be reliably paid.

        44.    Despite my belief in the strength of Plaintiff’s claims, it was entirely possible

that at the end of the lengthy litigation, I would recover none of the significant fees and

costs put into this case by myself and many of my colleagues.
    Case 1:12-cv-01236-WMS-MJR Document 201 Filed 10/25/18 Page 6 of 10



       45.    Plaintiff certainly does not have the ability to cover the fees and costs of this

matter, and due to her inability to pay, counsel had to take this matter on as a contingency

fee matter.

       46.    I believe that other attorneys may not have taken on representation in this

matter given the complex nature of the claims, the risk associated with covering all of the

fees and costs pending litigation, and Defendants’ unwillingness to entertain reasonable

settlement discussions.

       47.    I have been the primary attorney on this matter since 2011, and I have over

eighteen (18) years of relevant experience. (For the Court’s information, when I began

working on this case, my name was Jennifer Mereau.)

       48.    One of my main practice areas is labor and employment litigation, and my

current hourly rate for all matters is $320.00 an hour.

       49.    Working with me on this case since 2011 has been paralegal Janice Hance

who has over twenty-eight (28) years of relevant litigation experience, and her current

hourly rate for all matters is $175.00.

       50.    Associate Attorney Alina Nadir, Esq. joined the team working on Plaintiff’s

case in 2014 due to the voluminous nature of the matter, and she has over eight (8) years

of relevant experience, with a primary practice area of labor and employment litigation,

and a current hourly billable rate of $260.00 an hour.

       51.    The total lodestar figure of attorney’s fees that Plaintiff incurred in this matter

is $1,054,600.00. A complete fee listing is attached hereto as Exhibit A.

       52.    The lodestar figure was reached by considering the hours expended on this

matter times each individual’s hourly rate at the time a specific task was performed.
    Case 1:12-cv-01236-WMS-MJR Document 201 Filed 10/25/18 Page 7 of 10



       53.    As this matter has been pending for seven (7) years, the hourly rates have

changed over time as reflected in the attached statement of fees.

       54.    Throughout the litigation, there have been times when additional help or

consultation was needed from other attorneys or paralegals, and the fees incurred on

those instances are also included in the fee schedule.

       55.    For the purposes of clarity, the following is a list of individuals who billed

fees to this matter over the course of the litigation along with their position at the firm:

                  i. Paul F. Keneally, Esq., Litigation Partner and Chair of the Labor and

                      Employment Practice Group

                  ii. Colin D. Ramsey, Esq., Litigation Partner

                 iii. Jillian K. Farrar, Esq., Litigation Associate

                 iv. Jessie Gregorio, Esq.,Litigation Associate

                  v. Jennifer Coleman, Paralegal

                 vi. Carol Cross, Paralegal

                 vii. Maria Soeffing, Paralegal

                viii. Jodi Smith-Schuler, Paralegal

                 ix. Tracy Bansbach, Paralegal

       56.    None of the work completed in this matter was taken on frivolously or

needlessly.

       57.    In all circumstances, counsel reasonably believed that an assignment or

task to be completed was necessary.

       58.    The complexity of the claims in this matter also necessitated the use of two

expert witnesses, Dr. Kenneth W. Reagles and Dr. Norman J. Lesswing.
    Case 1:12-cv-01236-WMS-MJR Document 201 Filed 10/25/18 Page 8 of 10



       59.    Dr. Reagles assessed the economic effect of Defendants’ illegal acts on

Plaintiff, and his Curriculum vitae is attached as Exhibit B.

       60.    Dr. Reagles has extensive experience in the field, and in fact, led an entire

department at Syracuse University related to rehabilitation economics for over ten years.

       61.    He remains affiliated with Syracuse University to this day.

       62.    Dr. Reagles’ retention was necessary to assist the jury in understanding the

severe economic impact of Defendant’s illegal acts, and the fees needed to obtain his

assessment and testimony should be reimbursed by Defendants.

       63.    Dr. Lesswing assessed Ms. Small’s psychological state given the events at

issue in this lawsuit. His Curriculum Vitae is attached as Exhibit C.

       64.    Dr. Lesswing is well-respected in his field and has had a lengthy career of

over forty years, and in fact, he testified that the State of New York has used him for

similar testimony in the past.

       65.    His retention was necessary to establish Plaintiff’s claims and the

devastating impact of Defendants’ illegal acts, and the fees needed to obtain his

assessment and testimony should be reimbursed by Defendants.

       66.    The fees Plaintiff incurred as a result of retaining these two experts are

included in Exhibit D to this Affirmation, which outlines the costs Plaintiff incurred

throughout this lawsuit.

       67.    Also included in Exhibit D, are filing fees, service of process fees, travel-

related fees, transcript fees, subpoena and witness fees.
    Case 1:12-cv-01236-WMS-MJR Document 201 Filed 10/25/18 Page 9 of 10



       68.    Plaintiff had many travel-related costs in this matter as her attorneys needed

to travel for necessary proceedings such as the numerous depositions, which took over

two weeks to complete, and court appearances.

       69.    On some occasions, meals were also necessary as some of the

proceedings, such as depositions, lasted full days.

       70.    In addition, Plaintiff’s attorneys incurred hotel costs during trial; given the

need to adequately prepare for trial each day and the necessity to be able to consult with

Plaintiff after each day’s proceedings, Plaintiff’s trial team required lodging during trial.

       71.    In all respects, we sought to keep the cost of such necessities as

reasonable as possible, including comparison shopping for a hotel during trial and

negotiating the price with hotel management.

       72.    These costs were incurred only due to the nature and location of this

particular case and are not costs incurred as part of routine office overhead.

       73.    The total figure of costs, not including legal research costs, that Plaintiff

incurred in this matter is $74,416.21.

       74.    The fees and costs listed on the attached exhibits reflect costs and fees

through the end of September 2018 as the trial concluded on September 27, 2018.

       75.    Attached as Exhibit E is a listing of the legal research fees incurred

throughout this lawsuit.

       76.    All research was completed to ensure counsel could provide the most

effective legal representation to Plaintiff as possible.

       77.    Plaintiff incurred a total of $26,032.51 in legal research costs.
    Case 1:12-cv-01236-WMS-MJR Document 201 Filed 10/25/18 Page 10 of 10



       78.    Plaintiff reserves the right to supplement her fee request to include time

spent preparing and defending this motion for fees, interest, and costs, as well as future

fees and costs in defending the jury’s award and any of Defendants’ attempts to appeal

all or part of the final judgment.

       79.    For the foregoing reasons, as well as those set forth in Plaintiff’s

Memorandum of Law, Plaintiff’s motion should be granted in its entirety.

Dated: October 25, 2018

                                                /s/ Jennifer A. Shoemaker

                                                   Jennifer A. Shoemaker
